                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                             No. CR09-4033-MWB
 vs.                                              ORDER CONCERNING
                                              MAGISTRATE’S REPORT AND
 JONNY ROJAS,
                                             RECOMMENDATION REGARDING
               Defendant.                      DEFENDANT’S GUILTY PLEA
                               ____________________

                      I. INTRODUCTION AND BACKGROUND
       On October 21, 2009, a Second Superseding Indictment was returned against
defendant Jonny Rojas, charging defendant with conspiracy to distribute and possess with
intent to distribute 100 kilograms or more of marijuana, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(B), and 846. On February 9, 2010, defendant appeared before
Chief United States Magistrate Judge Paul A. Zoss and entered a plea of guilty to Count
1 of the Second Superseding Indictment. On this same date, Judge Zoss filed a Report and
Recommendation in which he recommends that defendant’s guilty plea be accepted. No
objections to Judge Zoss’s Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss’s recommendation to accept defendant’s
plea in this case.


                                    II. ANALYSIS
       The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):




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              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of


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review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation. Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Zoss’s Report and Recommendation of February 9, 2010, and accepts
defendant’s plea of guilty in this case to Count 1 of the Second Superseding Indictment.
       IT IS SO ORDERED.
       DATED this 24th day of February, 2010.


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                                                   MARK W. BENNETT
                                                   U. S. DISTRICT COURT JUDGE
                                                   NORTHERN DISTRICT OF IOWA




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